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                     THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                      * * * * *

    UNITED STATES OF AMERICA                *       NO. 12-CR-272-SS
                                            *
    VS.                                     *       Houston, Texas
                                            *
    CLAY JARRAD KIRKLAND          (15)      *
    JAMIE GRANT LOVEALL           (17)      *       10:18 a.m. - 10:28 a.m.
    RONALD LEE PRINCE             (25)      *       November 16, 2012

                                      * * * * *

                              INITIAL APPEARANCE

                 BEFORE THE HONORABLE FRANCES H. STACY
                     UNITED STATES MAGISTRATE JUDGE

                                      * * * * *




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                General Order 94-15, United States
            District Court, Southern District of Texas




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 1   APPEARANCES:

 2   For the United States:

 3        MR. DAVID N. KARPEL
          U.S. Department of Justice
 4        Criminal Division, Gang Unit
          950 Pennsylvania Avenue NW
 5        Washington, D.C. 20530

 6   For Defendant, Clay Jarrad Kirkland:

 7        MR. BRETT A. PODOLSKY
          Attorney at Law
 8        917 Franklin, Suite 510
          Houston, Texas 77002
 9
     For Defendant, Jamie Grant Loveall:
10
          MS. KIMBRA K. OGG
11        The Ogg Law Firm
          3215 Mercer, Suite 100
12        Houston, Texas 77027

13   For Defendant, Ronald Lee Prince:

14        MR. R. ERIC REED
          Reed Law Firm
15        402 Main, Suite 3 South
          Houston, Texas 77002
16
     Case Manager:
17
          BEVERLY WHITE
18
     Electronic Recorder:
19
          BRENT LASWELL
20

21

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 1                          P R O C E E D I N G S

 2                    10:18 A.M. - NOVEMBER 16, 2012

 3              THE COURT:       The first case is 2012-272, U.S.

 4   vs. Clay Jarrad Kirkland, Jamie Loveall, and Ronald

 5   Prince.    Jamie Grant Loveall and Ronald Lee Prince and

 6   Clay Jarrad Kirkland.

 7                    All right.        If you don't mind standing in

 8   the order that I called your name.                  So that Mr. Kirkland

 9   is on my left, your right; and in the middle,

10   Mr. Loveall; and on the right -- my right, your left,

11   Mr. Prince.

12                    And who's present for the United States?

13              MR. KARPEL:       Good morning, Your Honor.           David

14   Karpel for the United States.

15              THE COURT:       All right.         The purpose of this

16   proceeding is to advise you about the charges against

17   you, to advise you about your rights, to consider the

18   question of counsel, and to consider your conditions of

19   release.     You're not required to enter any plea to the

20   charges until after you have a chance to discuss the

21   case with your lawyer.

22                    And also, you have the right to remain

23   silent and not make any statement about the facts of

24   this case.     You're not required to make any explanation

25   about this case or present evidence or testify or gather

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 1   witnesses.     You're not required to talk to law

 2   enforcement officials.

 3                    You may speak to your lawyer privately

 4   about the case and your lawyer cannot be required to

 5   reveal anything that you discuss with your lawyer, but

 6   other people that you talk to about the case can be made

 7   witnesses against you.           And that includes your

 8   co-defendants, even each other.                 So, really, it's in

 9   your best interest to only communicate with your lawyer

10   and allow your lawyer to present the facts in the light

11   most favorable to you.           All right?

12                    That's your rights, and you're entitled to

13   a lawyer, whether you can hire one or not, and you're

14   entitled to an attorney on appeal also.

15                    It looks like each of you has filled out a

16   financial affidavit.         You signed the form at the bottom

17   of the page.      Will you please raise your right hand and

18   swear to the facts in the affidavit.

19              CASE MANAGER:         Do each of acknowledge that the

20   information in the Financial Affidavit is true and

21   correct to the best of your knowledge and belief, so

22   help you God?

23              DEFENDANT KIRKLAND:            Yes.

24              DEFENDANT LOVEALL:            Yes.

25              DEFENDANT PRINCE:           Yes.

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 1              THE COURT:       Okay.      I find that each of you is

 2   eligible for a court appointed counsel.

 3                    And for Mr. -- Mr. Podolsky, will you

 4   represent Mr. Kirkland?

 5              MR. PODOLSKY:         Yes, Your Honor.

 6              THE COURT:       Ms. Ogg, will you represent

 7   Mr. Loveall?

 8              MS. OGG:      Yes, Your Honor.

 9              THE COURT:       And Mr. Reed, will you please

10   represent Mr. Prince?

11              MR. REED:      Yes, Your Honor.

12              THE COURT:       Thank you.

13                    All right, so you've got attorneys to

14   represent you and these lawyers will be loyal only to

15   you in your case, all right?

16                    Does the Government move to detain each of

17   the defendants?

18              MR. KARPEL:       We do, Your Honor.

19              THE COURT:       There's a motion for detention and

20   I would like to have a separate bail hearing for these

21   three defendants.        I can -- is it okay if I set it with

22   when I have set for Tuesday at 10:00?                       Who's in that

23   case?   Mr. Sharron and Mr. -- who was the other one?

24              UNIDENTIFIED MALE VOICE:               Millican.

25              THE COURT:       Millican.         Would they be like

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 1   compatible or not?

 2              MR. KARPEL:       Who is the second?              Mr. Sharron,

 3   and who's the other one?

 4              THE COURT:       Millican.

 5              MR. KARPEL:       We should be fine.

 6              THE COURT:       All right.         So this hearing will be

 7   set -- the bail hearing and the arraignment will be set

 8   for, I'm going to say Tuesday at 10:00.                     Can you be

 9   ready for that?

10              MR. REED:      Your Honor, any chance --

11              THE COURT:       Or sooner?

12              MR. REED:      I think I can do it -- any chance I

13   can do it Monday?

14              THE COURT:       Yeah, we could do it Monday.                 Is

15   that available for all of you, Monday?

16              MS. OGG:      May I check?

17              MR. PODOLSKY:         May I check also?

18              THE COURT:       Yes.      I would like to do it at 9:00

19   rather than 10:00 on Monday.

20              MR. PODOLSKY:         I can be there Monday at 9:00.

21              THE COURT:       Is your witness available for the

22   United States?

23              MR. KARPEL:       He'll be there.

24              THE COURT:       Ms. Ogg?

25              MS. OGG:      I'm sorry, Judge.

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 1              THE COURT:       It's all right.

 2              MS. OGG:      I'm preparing for a trial next week.

 3              THE COURT:       We want to make sure you're

 4   available.

 5              MS. OGG:      Yes, ma'am.

 6              THE COURT:       You're preparing for a trial.                Are

 7   you in trial on Monday?

 8              MS. OGG:      I'm in trial the following Monday --

 9              THE COURT:       Okay.

10              MS. OGG:      -- before Judge Atlas.

11              THE COURT:       Best be prepared.

12              MS. OGG:      And I am before her on -- I am before

13   her on Wednesday morning.             We're doing a -- you said

14   Tuesday morning?

15              THE COURT:       Monday morning at 9:00.

16              MS. OGG:      Yes, ma'am, I'm available.

17              THE COURT:       All right.         I'll set all three of

18   you for your opportunity to enter a not guilty plea to

19   the charges on Monday at 9:00.                And also, then you'll

20   have a seat at the counsel table and talk to your lawyer

21   about, you know, your bail hearing and we'll conduct a

22   bail hearing at 9:00 on Monday.                So that's -- you'll be

23   temporarily detained until that time.                       Monday is the --

24              CASE MANAGER:         The 19th.

25              THE COURT:       -- 19th.

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 1                    Now I'm going to review the accusations

 2   against you.      Each of you will receive a copy of the

 3   Indictment, and your lawyers also get a copy of the

 4   Indictment.

 5                    And Mr. Kirkland?

 6              MR. KARPEL:       He's charged in Count One, Judge.

 7              THE COURT:       Is charged in Count One.

 8                    Thank you for helping me.

 9                    Mr. Loveall?

10              MR. KARPEL:       He's charged in Counts One, Two,

11   Three, Four, Five, and Six.

12              THE COURT:       How about Mr. Prince?

13              MR. KARPEL:       Mr. Prince is charged in Counts

14   One and Fifteen.

15              THE COURT:       Can you summarize the accusations?

16              MR. KARPEL:       Certainly.          With respect to

17   Mr. Kirkland, he is charged in Count One, which is

18   Conspiracy to Participate in a Racketeering Enterprise --

19              THE COURT:       Hold on.        We all want to take turns

20   talking, so I think it's important that you are paying

21   attention to the Government's summary of the

22   accusations.

23                    Start over, please.

24              MR. KARPEL:       Certainly.          Mr. Kirkland is

25   charged in Count One, which is Conspiracy to Participate

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 1   in a Racketeering Enterprise.               The maximum penalty is up

 2   to life imprisonment and/or a $250,000 fine --

 3              THE COURT:       Mr. Loveall and Mr. Prince are also

 4   accused in that count?

 5              MR. KARPEL:       They are.

 6              THE COURT:       All right.

 7              MR. KARPEL:       -- up to a $250,000 fine, followed

 8   by up to three years supervised release and a hundred

 9   dollar special assessment.

10                    With respect to Mr. Loveall and

11   Mr. Prince, as you know, they are both charged in Count

12   One.

13                    Mr. Loveall is also charged in Count Two.

14   Count Two is Conspiracy to Possess with Intent to

15   Distribute Methamphetamine and Cocaine.                     The penalty max

16   is not less than 10 years imprisonment, not more than

17   life imprisonment, and/or a fine of up to $110,000,

18   followed up to five years supervised release and a

19   hundred dollar special assessment.

20                    Count Four -- I'm sorry, Count Three is

21   the Murder, the ... Murder of Aaron Wade Otto.                     The

22   maximum penalty is death or life imprisonment and up to

23   a $250,000 fine, followed by up to five years supervised

24   release and a hundred dollar special assessment.

25                    Count Four is the Brandishing of a Weapon,

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 1   924(j) count.      Maximum penalty is up to life.

 2                    Count Five is the ... Murder of Robert

 3   Allen Branch.      The maximum penalty is death or life

 4   imprisonment and up to $250,000 followed by five years

 5   supervised release and a hundred dollar special

 6   assessment.

 7                    And Count Six is the sentence enhancer,

 8   which is also the 924(j), which is Using or Carrying a

 9   Firearm to Commit a Crime of Violence.                      It also carries

10   up to life imprisonment.

11               THE COURT:      Okay.

12               MR. KARPEL:      With respect to Mr. Prince, as

13   noted, he's also charged in Count One and he's also

14   charged in Count Fifteen, which is the Kidnapping of

15   Joseph Wright.        The maximum penalty is not more than

16   life imprisonment and/or up to $250,000 fine, followed

17   by up to five years supervised release and a hundred

18   dollar special assessment.

19               THE COURT:      Okay.      And you'll have a chance to

20   talk to your lawyers about these accusations in more

21   detail.     So you're going to be temporarily detained

22   while you await your bail hearing.

23                    And will they all be at Joe Corley?

24               DEPUTY MARSHAL:         The two in the orange will,

25   ma'am.    I'm not sure where they're all going to be at.

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 1               THE COURT:      Where Mr. Loveall is going to be,

 2   you don't know?

 3               DEPUTY MARSHAL:         I'm not sure, Your Honor.

 4               THE COURT:      Okay.

 5               MS. OGG:     Would it be in the downtown detention

 6   center, by any chance?

 7               THE COURT:      We want his lawyer to know where

 8   she can reach him.

 9               DEPUTY MARSHAL:         Yeah, if you can give me a

10   business card, I'll let you know later on today.

11               THE COURT:      All right.

12               MS. OGG:     Sure.

13                    It's unclear.

14               THE COURT:      What?

15               MS. OGG:     It's unclear.

16               THE COURT:      Okay.      We'll let you know today,

17   and the Marshals will tell your lawyer where she can

18   meet with you.       All right.        So even though you'll be in

19   custody while you await your hearing, you will still

20   have to counsel privately with your lawyers to prepare

21   for the hearing.       All right?

22                    This hearing is adjourned for now.

23               [10:28 a.m. - Proceedings adjourned]

24

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                          C E R T I F I C A T I O N



           I certify that the foregoing is a correct

     transcript of the electronic sound recording of the

     proceedings in the above-entitled matter.




     /s/ Gwen Reed

     3-4-13




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